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                               UNITED STATES DISTR ICT COURT
                                 DISTR ICT OF 'YAWI'.1~-2P    ~I~~~~Fj
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  THE ESTATE OF YARON UNGAR, et aI.,                      f~B        1 0 2011
         Plaintiffs,                                       )
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                                                                 L\,.AMl~ 1~'0.
                                                                 •
                 v.
                                                           )
  THE PALESTINIAN AUTHORITY, et aI.,                       )
                                                           )
          D~n~~.                                           )
                                                           )


                                                               DICE
          STIPULATION AND FINAL ORDE R OF DISMISSAL WITH PREJU
                                                                         ffs and
          IT IS HEREBY STIPULATED AND AGREED, by and between the Plainti
                                                                            nian Authority ("PA")
   defendants The Palestine Liberation Organization ("PLO") and The Palesti

   (collectively, "Defendants"), as follows:
                                                                                              y 26,
          1.        The parties entered into a Confidential Settlement Agreement dated Januar

   2011 ("Confidential Settlement Agreement").
                                                                                               ent
           2.       The parties have fully complied with the terms of the Confidential Settlem

   Agreement.
                                                                                            as the
           3.       Pursuant to the terms of the Confidential Settlement Agreement, as well
                                                                              the Court hereby orders,
   Stipulation of the Parties, the Parties hereby stipulate and agree to, and

   the following:
                                                                                                   ed
                    a.      that the default judgment which the Court entered in the above-caption
                                                                              aggregate amount of
    action on July 13, 2004 against Defendants, jointly and severally, in the
                                                                            2004 Judgment")
    approximately $116,421,048.00 (DE Nos. 279-280) (hereinafter, the "July

    shall be, and hereby is, unconditionally and fully vacated; and



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                    b.    that the default judgment that the Court entered in the above-captioned

   action against defendant Hamas (DE Nos. 253, 254), which was subsequently amended on or

   about February 9,2004 (DE 258) and on or about February 11,2004 (collectively, the "Hamas

   Judgment") shall be, and hereby is, unconditionally and fully vacated; and

                    c.    that the injunction that the Court entered against Defendants in the above-

   captioned action on or about May 5,2005 regarding the July 2004 Judgment (DE No. 322),

   which the Court subsequently amended or modified, including by Order dated August 3, 2005

   (DE No. 359), Order dated May 10,2006 (DE No. 2006), Order dated August 3, 2006 (DE No.

   374), Stipulation and Order dated September 12, 2007 (DE No. 402), Order dated April 7, 2008

   (DE No. 433), Amended Order dated October 22,2009 and by Order dated January 20, 2010

   (DE No. 478) (collectively, the "May 5, 2005 Injunction Order") shall be, and hereby is,

   unconditionally and fully vacated and dissolved; and

                    d.    that the "Notice ofInjunction Pursuant to Fed. R. Civ. P. 65(d)" dated

   May 6,2005 issued by Plaintiffs (a copy of which is attached hereto as Exhibit 1) (the "May 6,

   2005 Notice ofInjunction") shall be, and hereby is, unconditionally and fully vacated and

   rescinded; and

                    e.    (i) that the Creditor's Bill Judgment entered by the Court pursuant to its

   Order dated September 19,2006 (see DE Nos. 380, 381) (the "September 2006 Creditor's Bill

   Judgment") shall be, and hereby is, unconditionally and fully vacated; (ii) that Plaintiffs are

   directed to refrain from taking any actions regarding the Palestine Investment Fund ("PIF") and

   the Palestinian Commercial Services Company (also referred to as the Palestine Commercial

   Services Company) ("PCSC"); and (iii) that any and all actions taken by Plaintiffs or their

   counselor agents pursuant to the September 2006 Creditor's Bill Judgment with respect to the




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  ownership, election or appointment of directors or officers of the PIF, and any actions

  purportedly taken on behalf ofPIF with respect to its representation by counsel, or any other acts

  purportedly undertaken by Plaintiffs or their counselor agents as owners or management ofPIF

  - to the extent, if any, that any such actions or acts had legal force or effect - are hereby

  rescinded and declared null and void; and

                  f.      that the Stipulation and Order dated August 21, 2007 between Plaintiffs

  and non-party The Palestinian Pension Fund for the State Administrative Employees in the Gaza

  Strip 1 which the Court entered on September 11, 2007 (DE No. 402) which permitted certain

  actions regarding the management of the assets of The Palestinian Pension Fund for the State

  Administrative Employees in the Gaza Strip notwithstanding the May 5, 2005 Injunction Order

  (the "September 11,2007 Stipulation and Order") shall be, and hereby is, unconditionally and

  fully vacated, and there shall be no existing or continuing restrictions by this Court on any

  actions by The Palestinian Pension Fund for the State Administrative Employees in the Gaza

  Strip; and

                  g.      that the Court's Order dated September 21, 2010 (DE No. 539) denying

  the motion of The Palestinian Pension Fund for the State Administrative Employees in the Gaza

  Strip to intervene and for other relief shall be, and hereby is, unconditionally and fully vacated;

  and

                  h.      that the Payment Decree against Defendants which was granted by the


  1 At certain times, The Palestinian Pension Fund for the State Administrative Employees in the Gaza Strip
  has allegedly also been referred to correctly or incorrectly as "The Insurance and Pension Fund," "The
  Pension Fund of the Civil Administration Employees in the Gaza Strip," "The Pension Fund of the State
  Administrative Employees," "The Palestinian Pension Fund of the State Administrative Employees,"
  "The Palestinian Pension Fund of State Administrative Employees," "The Palestinian Pension Fund, the
  Gaza Insurance and Pension General Corporation," "The Insurance and Pension General Corporation,"
  "The GIPC," and "The GPIC").




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  Magistrate Judge of the District Court by Order dated May 12,2010 (DE No. 484) (the "May 12,

  2010 Payment Decree") shall be, and hereby is, unconditionally and fully vacated;

          4.     Pursuant to the terms of the Confidential Settlement Agreement, this action shall

  be, and hereby is, dismissed with prejudice, as settled.

          5.     This Court retains jurisdiction to hear any dispute between the parties arising from

  the Confidential Settlement Agreement.



                                                        SEEN AND AGREED FOR DEFENDANTS:



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                                                        Authority

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         SO ORDERED this         C/{'tlAdayof     ,=~                 ,2011, including, without

  limitation, all relief described and contained in paragraphs 3-5 above.

         The Clerk of Court is hereby directed to mark the July 2004 Judgment against the

  Defendants as vacated, to make any other docket entries required to effectuate the foregoing and

  to mark this action dismissed with prejudice, as settled.


                                                        ~M.~
         THIS IS A FINAL ORDER.

                                                        Ronald R. Lagueux
                                                   'S», United   States District Court Judge

  Copies to All Counsel of Record




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